       Case 1:21-cv-02437-RMM Document 23-2 Filed 06/14/22 Page 1 of 4
                        EXHIBIT 2: March 18, 2020 Tolling Order


                SUPERIOR COURT OF THE DISTRICT OF COLUMBIA

                                      ORDER

                               (Amended 3/19/20)

       By order issued on March 18, 2020, the Joint Committee of Judicial
Administration authorized the Chief Judge to issue orders extending the period
during which deadlines are suspended, tolled, and extended for all statutory and
rules‐based time limits in the D.C. Code, and the Superior Court Rules, during the
current judicial emergency and consistent with the best interest of the
administration of justice.

      By Order of the Chief Judge, the District of Columbia Superior Court is
adjusting its operations to address concerns regarding the Coronavirus (COVID19).
The court will make additional adjustments as circumstances warrant.

       To the extent that a case type has not been identified below, all non‐
priority matters scheduled before May 15, 2020, will be rescheduled and new
dates set; emergency matters will be heard as scheduled by the court and as set
forth below.

      It is ordered that no attorney or persons should enter the courthouse with
symptoms of C0V19.
See https://www.cdc.gov/coronavirus/2019‐ncov/about/symptoms.html

     Any party may seek relief from these changes by filing a motion with the
appropriate court.

Filings:

     All Divisions and the Family Court will be open for filing of pleadings,
motions and new cases with limited staff. Electronic filing will continue.

The following procedures are in effect through May 15, 2020:




                                         1
      Case 1:21-cv-02437-RMM Document 23-2 Filed 06/14/22 Page 2 of 4




Suspending, Tolling, and Extending Filing Deadlines:

      Unless otherwise ordered by the court, all deadlines and time limits in
statutes, court rules, and standing and other orders issued by the court that
would otherwise expire before May 15, 2020 including statutes of limitations, are
suspended, tolled, and extended during the period of the current emergency.
Such deadlines and time limits may be further suspended, tolled, and extended as
circumstances change.

Court Operations:

      The court will hear only the following matters:

          Felony presentments and misdemeanor arraignments other than
           citation arraignments;

          Juvenile initial hearings and petitions for writ of habeas corpus;

          Initial hearings and requests of removal in neglect and abuse
           matters; and

          Emergency matters only.

      The following courtrooms will hear matters:

          C‐10: Criminal Arraignments and Presentments

          JM‐15: Family Court Emergencies, Neglect Initial Hearings, and
           Juvenile Initial Hearings

          115: Criminal Division and Domestic Violence Emergencies ‐ other
           than TPOs emergencies which will be heard via Web Ex, see below

          516: Civil and Probate and Tax Division Emergencies (Judge in
           Chambers)



                                        2
      Case 1:21-cv-02437-RMM Document 23-2 Filed 06/14/22 Page 3 of 4




       All other matters are continued, parties need not appear and the court will
notify parties of new date.

Additional Matters:

       All jury trials in progress shall proceed as scheduled.

       The court will still rule on motions and matters that can be decided
        without a hearing in all Divisions.

       Parties may file, and the court will rule on, applications for waivers of
        filing fees and other costs.

       The court will accept court‐ordered payments by individuals; only
        payments for criminal matters, except bond payments, can be made
        electronically. In addition, any obligation of any tenant under a
        protective order to make payments into the court registry is suspended
        during the period of the emergency. Tenants should make these
        payments instead directly to landlords, and a landlord’s acceptance of a
        direct payment will not prejudice the landlord’s ability to prosecute the
        action. If a landlord seeks sanctions for violation of a protective order
        after the public health emergency ends, the court will consider, in
        addition to other relevant circumstances, exigent circumstances relating
        to the public health emergency.

       All evictions of tenants and foreclosed homeowners on or before May
        15, 2020 are stayed.

       Extradition matters shall proceed as scheduled.

       Indictments returned by the grand jury shall be received as presented;
        all matters concerning appearance before the grand jury will be
        considered as presented.

       Pretrial and Probation show cause hearings and motions to review bond
        or release conditions may proceed and be heard by the Criminal Division
        Emergency Judge where appropriate.

                                         3
Case 1:21-cv-02437-RMM Document 23-2 Filed 06/14/22 Page 4 of 4




 Any existing Temporary Protection Order and Civil Protection Order will
  remain in effect and will be extended through May 15, 2020 or to the
  next assigned court date.

 Requests for Temporary Protection Orders will be available through the
  Emergency Temporary Protection Order (ETPO) Process. During this
  emergency operating Court status, the ETPO process will be accessible
  at any time of the day for situations involving immediate danger. If you
  are in immediate danger and call the police (911) or the DC Safe Critical
  Response Team (800) 407‐5048, you will be routed to the ETPO process
  to determine if you qualify for an Emergency Temporary Protection
  Order.

 Emergency Filings in Civil Protection Order cases can be made through
  www.probono.net/dccourts. You can complete and submit the forms
  electronically. Once you complete and submit the form, please contact
  the Clerk’s Office to proceed with the filing by phone at (202) 879‐0157
  or by email at domesticviolencemanagement@dcsc.gov. You can also
  access the Domestic Violence Division forms on the DC Courts website at
  http://www.dccourts.gov/services/forms?title=&combine and, after
  completing the form, email it to
  domesticviolencemanagement@dcsc.gov. If there is a form that is not
  available on the website, please email
  domesticviolencemanagement@dcsc.gov for further assistance.

 The Marriage Bureau will not be issuing marriage licenses at this time.
  Wedding ceremonies previously scheduled will not go forward. If you
  wish to reschedule your ceremony, please contact the Marriage Bureau
  at (202) 879‐1212.




                                  4
